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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                WESTERN DIVISION


UNITED STATES OF AMERICA

V.                                                   CRIMINAL NO. 5:03CR9BrSu-001

JAMAR SMITH


                        AGREED ORDER REDUCING SENTENCE

       The Court considers this case pursuant to its authority under 18 U.S.C. § 3582(c)(2) and

Federal Rule of Criminal Procedure 43(b)(4). The U.S. Sentencing Commission has reduced

guideline offense levels for cocaine base cases, and has made the reductions retroactive to

previously-sentenced defendants. The parties agree that a sentencing reduction is appropriate in

this case. The Court concurs, and hereby ORDERS as follows:

       (1)     The guideline offense level in this case is reduced from 93 to 73 months;

       (2)     Defendant’s projected release date is November 4, 2009; with his 23 month

               reduction, he should be entitled to immediate release.

       (3)     If this sentence is less than the amount of time the defendant has served,

               Defendant’s sentence is reduced to TIME SERVED.

       (4)     All other terms and provisions of the original judgment remain in effect.

       A copy of this agreed order shall be transmitted to the Bureau of Prisons immediately.

       SO ORDERED on this the        23rd   day of   April    , 2008.


                                                 s/ David Bramlette
                                             UNITED STATES DISTRICT COURT JUDGE


AGREED:

/s/ Sandra G. Moses                                  /s/ George L. Lucas
ASSISTANT U.S. ATTORNEY                              DEFENSE COUNSEL
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